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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                          IN ADMIRALTY

                                              CASE NO.:

 JONES SUPERYACHT MIAMI, INC.

       Plaintiff,
                                                                               VERIFIED COMPLAINT IN REM

 v.

 MY HAWK, her engines,
 tackle, and other appurtenances,
 in rem,
 ______________________________/

             Plaintiff, Jones Superyacht Miami, Inc. (“Jones”), sues

 Defendant, M/V HAWK (“HAWK”), her engines, tackle, and other

 appurtenances, in rem, and alleges:

             1. Jones is a corporation incorporated in and under the

 laws of the State of Florida.                     At all material times, Jones has done

 business at 3399 N.W. South River Drive, Miami, Florida.

             2. M/V HAWK is a glass reinforced plastic vessel of 23.57

 meters with a gross tonnage of 73.81.                                Its Official Number is 744119.

 Attached hereto as Exhibit “A” is a true and correct copy of her

 Certificate of British Registry issued by the Cayman Islands Shipping

 Registry. The M/V HAWK is within the district or will be within the

 district while the action is pending.

             3. This is a case of admiralty and maritime jurisdiction,

                                              MEJER LAW, P.A.
                                     --------------------------------------------
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 as herein more fully appears, within the meaning of Rule 9(h) of the

 Federal Rules of Civil Procedure, for a judgment and maritime lien

 pursuant to 46 U.S.C.A. §31342, et seq .                                           This Court retains

 admiralty and maritime jurisdiction pursuant to 28 U.S.C.A. §1333.

             4. Jones is engaged, among other things, in the furnishing

 of dockage, supplies and repairs to vessels of all kinds and

 descriptions.

             5. On or about January 8, 2018, the owner of the M/V HAWK,

 or someone with its authority, signed a Dockage Agreement with Jones.

 Attached hereto as Exhibit “B” is a true and correct copy of the

 Dockage Agreement.

             6. Pursuant to Exhibit “B”, Jones agreed to provide to M/V

 HAWK     necessaries          such           dockage,                      electricity,    monitoring,

 maintenance, and to pay for a member of the M/V HAWK crew to routinely

 inspect her.

             7. As of January 31, 2019, for the services rendered by

 JONES to the M/V HAWK, Jones is owed the amount of $602,178.49.

 Attached hereto as Composite Exhibit “C” are true and correct copies

 of statement and invoices rendered to the owner of the M/V HAWK.

             8. Jones has hired the law firm of Mejer LAW P.A. and has

 agreed to pay them a reasonable fee for their services.

                                                 COUNT I

             Jones reiterates and realleges its allegations contained
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                                     --------------------------------------------
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 in paragraph 1 through 8, above, and further states:

             9. Pursuant to 46 U.S.C.A. §31342 Jones is entitled to

 assert and foreclose a maritime lien on the on the M/V HAWK in the

 amount of $602,178.49.

             WHEREFORE, Jones prays that:

             A. Process be issued in rem according to the practices of

 this Honorable Court in cases of admiralty and maritime jurisdiction

 against the M/V HAWK, her engines, tackle, and other appurtenances,

 and that all persons claiming any right or interest in them be cited

 to file claim, appear and answer;

             B. Plaintiff’s claim be adjudged a preferred maritime lien

 on the M/V HAWK in the amount of $602,178.49;

             C. That the M/V HAWK be condemned or sold to satisfy said

 lien with interest and costs.

             D. Jones be granted such other and further relief as may

 be just and proper.

                                                                 Alvaro L. Mejer
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